CIA 24 AUTHORIZATION AND VOUCHER FOR PAYMENT OF TRANSCRIPT (Rev AOR)

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2. Oe REPRESENTED

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VOUCHER NUMBER

3. MAG. OKT DEF. NUMBER rT DIST. ORT ee 73 o 5. APPEALS DKT/DEF. NUMBER 6 OTHER OKT. NUMBER
ay 01-F062
7 IN CASEIMAVIER S Axe me B PAYMENT CATEGORY £ PERSON REPRESENTED 10, REPRESENTATION TYPE

N

O Felony

C patidemeanor
Appeal

O Petty Offense
0 Other

v.
Martie

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Pee \e+}ed

wn
Adult Defendant

OC Juvenile Defendant
O) Other

O Appellant
O Appeltee

(Nee insiructions)

tt QFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) /fmore than ane offense, list (up to five) major offenses charged, accarding to severity of affense,

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“+ REQUEST. AND AUTHORIZATION FOR TRANSCRIPT _. :

12) PROCEEDING IN WHICH TRANSCRIPT IS TO BE USED (Describe briefly) tr c : pS AD N ta f
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8 8 JUDGE'S INITIALS
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B, O 14-Day QO Expedited O Daily O Hourly O Realtime Unedited
C. O Prosecution Opening Sistement OD Proseculion Argument © Prosecution Rebultnl
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As the allomey for the person represented who is mannged above, } hereby affirm that the Financiat chyibilily of (he person represented hnving been established to the Court's
transcripl requested is necessnry for adequate representation. 4, therefore, request sntisfaction the auiharizatinn requested m Meo 1S is hereby granted
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